     Case 2:11-cr-00067-RHW   ECF No. 42   filed 06/08/11   PageID.71 Page 1 of 1




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 5
                          UNITED STATES DISTRICT COURT
 6                       EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,              )
 8                                           )     CR-11-067-RHW-2
                       Plaintiff,            )
 9                                           )     ORDER GRANTING DEFENDANT’S
      v.                                     )     UNOPPOSED MOTION TO MODIFY
10                                           )     ORDER SETTING CONDITIONS OF
      PATRICK DAVID BOZARTH,                 )     RELEASE
11                                           )
                       Defendant.            )
12                                           )

13
14         As agreed upon by the parties, IT IS ORDERED that;

15         The Defendant’s Motion to Modify Release Conditions (ECF 40)is

16   hereby GRANTED. The Defendant shall be removed from electronic

17   monitoring and home detention, and shall be placed on a curfew of

18   9:00 p.m. to 6:00 a.m.

19         All other conditions of release entered on April 21, 2011 shall

20   remain in full effect.

21         DATED June 8, 2011.

22
                                    S/ CYNTHIA IMBROGNO
23                            UNITED STATES MAGISTRATE JUDGE

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     ORDER - 1
